                           **NOT FOR PRINTED PUBLICATION**

                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    LUFKIN DIVISION

STATE OF TEXAS                                       §
                                                     §
v.                                                   §    CASE NO. 9:20-CV-175
                                                     §
CESSNA 560 CITATION JET BEARING                      §    JUDGE MICHAEL TRUNCALE
SERIAL NUMBER 560-0068 AND                           §
ASSIGNED AND DISPLAYING                              §
REGISTRATION/TAIL NUMBER                             §
N569LM                                               §
                                                     §

               ORDER GRANTING DEFENDANT’S MOTION TO DISMISS

       Pending before the court is Defendant’s Motion to Dismiss. (Doc. #3). Because Plaintiff

did not file the notice of seizure and intended forfeiture in the county where the property was

seized, and the property is not proceeds, the court grants the motion.

                                       I.     BACKGROUND

       On July 9, 2020, Plaintiff, the State of Texas (“State”), filed a Notice of Seizure and

Intended Forfeiture (“Notice”) in the 411th District Court of Polk County, Texas seeking forfeiture

of a Cessna 560 Citation Jet bearing serial number 560-0068 and assigned and displaying

registration/tail number N569LM (“Cessna Jet”) in the 411th District Court of Polk County, Texas

(Doc. #2). The notice, based on a sworn affidavit of a law enforcement officer and filed by virtue

of Chapter 59 of the Texas Code of Criminal Procedure, alleged that the Cessna Jet was contraband

and is subject to forfeiture by virtue of it having been used in, intended to be used in, or acquired

with the proceeds gained from the commission of a number of felony offenses under the Texas

Penal Code. (Doc. #2). On August 14, 2020, the Cessna Jet removed the action to this court

asserting diversity and federal question jurisdiction. (Doc. #1). On September 2, 2020, the State

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filed a motion to remand. (Doc. #4). On November 16, 2020, the court had a hearing on the motion

to dismiss. In the hearing, the court gave the parties 7 days to file supplemental briefing on whether

the notice requirement of Texas Code of Criminal Procedure Article 59.04 had been met and if the

Cessna Jet could qualify as proceeds under Article 59.01(7). On November 23, 2020, the Cessna

Jet filed its post-hearing brief. (Doc. #19). Instead of filing its own post-hearing brief, on

November 25, 2020, the State filed a Reply to Defendant’s Post-Hearing Brief. 1 (Doc. #20).

                                            II.      LEGAL STANDARD

         To survive a Rule 12(b)(6) motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, “to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)); see

also Leal v. McHugh, 731 F.3d 405, 410 (5th Cir. 2013) (“Dismissal is appropriate only if the

claim fails to plead ‘enough facts to state a claim to relief that is plausible on its face.’”). To be

plausible, the complaint’s “[f]actual allegations must be enough to raise a right to relief above the

speculative level.” In re Great Lakes Dredge & Dock Co., LLC, 624 F.3d 201, 210 (5th Cir. 2010)

(quoting Twombly, 550 U.S. at 555). “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Iqbal, 556 U.S. at 678.

         In deciding whether the complaint states a valid claim for relief, the court accepts all well-

pleaded facts as true and construes the complaint in the light most favorable to the plaintiff. In re

Great Lakes, 624 F.3d at 210. The court does not accept as true “conclusory allegations,



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           It appears the State may have styled their brief as a reply in order to get around the fact that briefing on the
matter was due on November 23, 2020, a deadline the State did not meet. This is not the first deadline the State has
missed in this case. Although the court will still consider the State’s brief, counsel is advised to pay close attention to
deadlines in the future as the court has the discretion to reject documents that are not timely filed. The court further
notes that if the State wanted to rebut the Cessna Jet’s brief, it would file a response, not a reply. See Local Rule CV-
7.

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unwarranted factual inferences, or legal conclusions.” Id. While legal conclusions can provide the

complaint’s framework, they must be supported by factual allegations. Iqbal, 556 U.S. at 679. The

inquiry focuses on the allegations in the pleadings and not on whether the plaintiff actually has

sufficient evidence to succeed on the merits. See Ackerson v. Bean Dredging, LLC, 589 F.3d 196,

209 (5th Cir. 2009). “Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Id. Likewise, a plaintiff must put forth more than

“‘unadorned, the defendant-unlawfully-harmed-me accusation[s].’” Varela v. Gonzales, 773 F.3d

704, 707 (5th Cir. 2014) (citing Iqbal, 556 U.S. at 678).

                                               III.      DISCUSSION

         In its Notice, the State offers three reasons for why seizure and forfeiture of the Cessna Jet

is warranted: because it (a) is contraband as defined by Article 59.01; (b) is substitute property as

set forth in Article 59.021; or (c) qualifies as a suit for proceeds under Article 59.023. Each reason

will be discussed in turn.

    A. Contraband 2

         Article 59.02 of the Texas Code of Criminal Procedure states “[p]roperty that is contraband

is subject to seizure and forfeiture.” Tex. Code Crim. Proc. Ann. art. 59.02. Proceedings

commenced under Chapter 59 are subject to a notice requirement which is laid out in Article 59.04.

The pertinent parts read:

         Article 59.04. Notification of forfeiture proceeding

         (a) If a peace officer seizes property under this chapter, the attorney representing
             the state shall commence proceedings under this section not later than the 30th
             day after the date of the seizure.



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         In the hearing and in its post-hearing brief, the State seems to concede that it did not meet the Chapter 59
requirements necessary to seize property as contraband. For the sake of thoroughness, the court will still address this
issue.

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       (b) A forfeiture proceeding commences under this chapter when the attorney
       representing the state files a notice of the seizure and intended forfeiture in the name
       of the state with the clerk of the district court in the county in which the seizure is
       made. The attorney representing the state must attach to the notice the peace
       officer’s sworn statement under Article 59.03 of this code. The attorney
       representing the state shall cause certified copies of the notice to be served on the
       following persons in the same manner as provided for the service of process by
       citation in civil cases:
       ******
       (l ) Proceedings commenced under this chapter may not proceed to hearing unless
       the judge who is to conduct the hearing is satisfied that this article has been
       complied with and that the attorney representing the state will introduce into
       evidence at the hearing any answer received from an inquiry required by
       Subsections (c)–(h) of this article.

Tex. Code Crim. Proc. Ann. art. 59.04.

       Texas appellate courts interpreting Article 59.04 have held that “notice must be filed as

prescribed by the statute in the County where the property was seized.” Martinez v. State, 893

S.W.2d 304, 305 (Tex. App.—Corpus Christi 1995, no pet.). If the notice is filed in a county

different than the county where the property is seized, the proceeding must be dismissed. See

Martinez, 893 S.W.2d at 305 (dismissing forfeiture proceeding because automobile was seized in

Kenedy County and the notice of seizure and intended forfeiture was filed in Kleberg County).

       The Notice in this case was filed in Polk County, Texas. Neither the Notice nor any other

pleadings filed by the State contain any facts or evidence indicating that the Cessna Jet was seized

in Polk County or that it has ever been physically present in Polk County. The only connection

with Polk County the Cessna Jet seems to have is that one of its owners allegedly had a P.O. Box

and conducted some business in Polk County at one time. The affidavit attached to the Notice was

completed in Harris County. The affidavit itself states that the Cessna Jet is currently located in

Brownsville, Texas, which is in Cameron County. Additionally, in the hearing on the motion to

dismiss, the attorney for the State admitted that the Cessna Jet has never been to Polk County and

that the seizure took place in Brownsville, Texas. The State further admitted in its post-hearing

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brief that the seizure took place in Cameron County, Texas. Thus, the State has not, and cannot,

prove that the property was seized in Polk County. Because the forfeiture article has not been

complied with and the seizure did not occur in Polk County, this ground for seizure and forfeiture

must be dismissed. See 1976 Harley Davidson Motorcycle, VIN #2C16410H6 v. State, 106 S.W.3d

398, 402 (Tex. App.—Corpus Christi 2003, no pet.) (holding that the State did not prove by a

preponderance of the evidence that the property was subject to forfeiture because it failed to prove

the property was seized in the county where the notice was filed).

      B. Substitute Property

         The State’s Notice states that “[p]laintiff, in the alternative, seeks the forfeiture of

‘substitute property’ as set forth under [Article] 59.021 of the Code of Criminal Procedure, and

alleges the substitute property is subject to forfeiture by virtue of fact that the contraband a) has

been transferred, conveyed, sold to, or deposited with a person other than the owner or interest

holder; b) is not within the jurisdiction of the court; c) has been commingled with other property

and cannot be readily distinguished or separated; or d) is proceeds described by Article 59.01(2)(C)

and was used to acquire other property that is not within the jurisdiction of the court.” (Doc. #2, at

3).

         There are several problems with this argument. First, substitute property is by definition

not contraband. See Art. 59.021(a)(1). For the Cessna Jet to be substitute property, there must be

some other property that is contraband and is not available. Here, the only property at issue is the

Cessna Jet and the Notice does not say, assuming the jet is substitute property, what the underlying

contraband is. In other words, the Cessna Jet cannot simultaneously be both contraband and

substitute property of the same contraband.




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       Even assuming that the Notice’s general statement seeking forfeiture of unspecified

substitute property is sufficient and that the Cessna Jet is the underlying contraband, this argument

still fails. There is no allegation that the Cessna Jet has been transferred, conveyed, sold to, or

deposited with a person other than the owner or interest holder. The Cessna Jet is within the

jurisdiction of the court. And there is clearly no way that an airplane can be comingled with other

property. That leaves the question of whether the Cessna Jet can be proceeds.

       Article 59.01 of the Texas Code of Criminal Procedure states that in Chapter 59, proceeds

includes

       income a person accused or convicted of a crime or the person’s representative or
       assignee receives from:

       (A) a movie, book, magazine article, tape recording, phonographic record, radio or
       television presentation, telephone service, electronic media format, including an
       Internet website, or live entertainment in which the crime was reenacted; or

       (B) the sale of tangible property the value of which is increased by the notoriety
       gained from the conviction of an offense by the person accused or convicted of the
       crime.

Tex. Code Crim. Proc. Ann. art. 59.01(7). Looking at the other words defined in Article 59.01, it

appears that this definition of proceeds is not meant to be an exhaustive list. However, both things

proceeds includes must first be income. A plain reading of the statute leads to a logical conclusion

that proceeds must be some type of income. The Notice never alleges that the Cessna Jet is income.

       Even assuming that proceeds need not be income, the argument that the Cessna Jet is

proceeds fails. In its post-hearing brief, the State admits that words not specifically defined by

statute should be given a meaning that is consistent with the common understanding of the term.

(Doc. #20, at 5). The State then cites to the fifth edition of Black’s Law Dictionary, a long-outdated

edition, to support its argument that “proceeds” includes that which results, proceeds or accrues




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from some possession or transaction. (Doc. #20, at 5). However, the current edition of Black’s

Law Dictionary defines proceeds as

       1. The value of land, goods, or investments when converted into money; the amount
       of money received from a sale <the proceeds are subject to attachment>. 2.
       Something received upon selling, exchanging, collecting, or otherwise disposing of
       collateral. UCC § 9-102(a)(64). • Proceeds differ from other types of collateral
       because they constitute any collateral that has changed in form. For example, if a
       farmer borrows money and gives the creditor a security interest in the harvest, the
       harvested wheat is collateral. If the farmer then exchanges the harvest for a tractor,
       the tractor becomes the proceeds of the wheat.

Proceeds, BLACK’S LAW DICTIONARY (11th ed. 2019). As a preliminary matter, this definition

relates to proceeds in the context of secured transactions, not criminal forfeiture actions.

Regardless, to meet definition 1, the Cessna Jet would have to be money, which it is not. Definition

2 would require the Cessna Jet to be something received from disposing of some other collateral,

which the Notice does not allege. In other words, the Cessna Jet cannot be both the proceeds and

the collateral that was disposed of, and the Notice references no other property that could be the

underlying collateral.

       If Black’s Law Dictionary is not persuasive enough, both Garner’s Modern American

Usage and Garner’s Dictionary of Legal Usage defines proceeds as “the value of land, goods, or

investments when converted into money.” Proceeds, GARNER’S DICTIONARY OF LEGAL USAGE

(3rd ed. 2011); Proceeds, GARNER’S MODERN AMERICAN USAGE (3rd ed. 2009). The Oxford

Advanced American Dictionary defines proceeds as “the money that you receive when you sell

something or organize a performance, etc.; profits.” Proceeds, OXFORD ADVANCED AMERICAN

DICTIONARY,https://www.oxfordlearnersdictionaries.com/us/definition/american_english/procee

ds?q=proceeds (last visited Nov. 30, 2020). And the American Heritage Dictionary of the English

Language defines proceeds as “the amount of money derived from a commercial or fundraising




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venture; the yield.” Proceeds, AMERICAN HERITAGE DICTIONARY             OF THE   ENGLISH LANGUAGE

(11th ed. 2011).

       In sum, it appears from the various dictionaries that the common understanding of proceeds

requires it to be money. The Cessna Jet obviously is not money. Even assuming that proceeds do

not necessarily include only cash or money, proceeds at a minimum must be something obtained

as a result of the sale or exchange of some other thing. Here, the Notice does not allege that the

Cessna Jet was bought with money obtained from the sale of something else or obtained as an

exchange for some other good. Additionally, the State cites no case law or dictionary definition

supporting its conclusion that the Cessna Jet can qualify as proceeds. For all these reasons, the

court concludes that the Cessna Jet is not proceeds and therefore does not meet any of the

definitions of substitute property laid out in Article 59.021. Thus, this ground for seizure and

forfeiture must be dismissed as well.

   C. Suit for Proceeds

       Lastly, in the Notice the State “in the alternative seeks a suit for proceeds and a judgment

in the amount of proceeds that are contraband under [Article] 59.023 of the Code of Criminal

Procedure.” (Doc. #3, at 3). Article 59.023 states in pertinent part:

       A peace officer who identifies proceeds that are gained from the commission of an
       offense listed in Article 59.01(2)(A) or (B) shall provide the attorney representing
       the state with an affidavit that identifies the amount of the proceeds and that states
       probable cause that the proceeds are contraband subject to forfeiture. On receiving
       the affidavit, the attorney representing the state may file for a judgment in the
       amount of the proceeds in a district court in:
       (1) the county in which the proceeds were gained;
       (2) the county in which any owner or possessor of the property was prosecuted for
       an underlying offense for which the property is subject to forfeiture;
       (3) the county in which venue existed for prosecution of an underlying offense for
       which the property is subject to forfeiture;
       (4) the county in which the proceeds were seized; or
       (5) Travis County.



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Tex. Code Crim. Proc. Ann. art. 59.023. The definition of proceeds in Article 59.023 is governed

by Article 59.01 which is discussed above. As explained above, the Cessna Jet is not proceeds.

Moreover, the Notice was filed to specifically seize the Cessna Jet and only the Cessna Jet. It does

not assert that it is seizing any money or income that is in any way associated with the Cessna Jet.

It also does not assert the amount of the proceeds. Therefore, because the Cessna Jet itself cannot

be proceeds, a suit for proceeds against it must fail. 3

                                               IV.      CONCLUSION

         Because the State cannot allege facts to meet the notice requirement of Chapter 59 of the

Texas Code of Criminal Procedure, and because the Cessna Jet cannot be proceeds, the State’s

claim that the Cessna Jet is subject to seizure and forfeiture fails. The court therefore GRANTS

Cessna Jet’s Motion to Dismiss (Doc. #3). This case is DISMISSED with prejudice. Accordingly,

all remaining deadlines, trial settings, and pending motions are TERMINATED. This case is

CLOSED, and this constitutes a final judgment for appeal purposes.

                                              SIGNED this 7th day of December, 2020.




                                                                                   ____________________________
                                                                                   Michael J. Truncale
                                                                                   United States District Judge




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           The State attempts to save itself by stating that the suit must proceed because the Notice provides the Cessna
Jet with fair notice and asserts that fair notice is all that is needed. However, the State discusses the Texas pleading
standard. The federal pleading standard is what must be satisfied here. See Int’l Energy Ventures Mgmt., L.L.C. v.
United Energy Grp., Ltd., 818 F.3d 193, 200 (5th Cir. 2016).

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